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                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW HAMPSHIRE


United States of America

               v.                                     Criminal No. 09-cr-140-04-JL

Frank Hahnl


                                             ORDER


       The assented to motion to reschedule jury trial (document no. 90) filed by defendant is

granted; no further continuances without a hearing at which all defense counsel must be present.

As this motion was assented to by all co-defendants, their final pretrial and trial are also continued

as follows: Final Pretrial is rescheduled to February 18, 2010 at 2:00 PM; Trial is continued to the

two-week period beginning March 2, 2010, 9:30 AM.

       Defendant Hahnl shall file a waiver of speedy trial rights within 10 days. The court finds that

the ends of justice served by granting a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the reasons set forth in the motion.

       SO ORDERED.
                                                              tc /~*y/6ZZ&

                                                      Joseph N. Laplante
                                                      United States District Judge

Date: January 15, 2010


cc:    Counsel of Record
       U. S. Probation
       U. S. Marshal
